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     UBER TECHNOLOGIES, INC.
14   and OTTOMOTTO LLC

15                                UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                      SAN FRANCISCO DIVISION
18   WAYMO LLC,                                           Case No.     3:17-cv-00939-WHA
19                         Plaintiff,                     DECLARATION OF MICHELLE
                                                          YANG IN SUPPORT OF
20          v.                                            DEFENDANTS UBER
                                                          TECHNOLOGIES, INC. AND
21   UBER TECHNOLOGIES, INC.,                             OTTOMOTTO LLC’S
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    ADMINISTRATIVE MOTION TO
22                                                        FILE UNDER SEAL
                           Defendants.
23                                                        Trial Date: October 2, 2017
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     YANG DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1          I, Michelle Yang, declare as follows:

 2          1.      I am an attorney at the law firm of Morrison & Foerster LLP. I make this

 3   declaration based upon matters within my own personal knowledge and if called as a witness, I

 4   could and would competently testify to the matters set forth herein. I make this declaration in

 5   support of Defendants’ Administrative Motion to File Under Seal Defendants’ Response to

 6   Waymo’s Objections to Evidence Cited in Defendants’ Preliminary Injunction Sur-Reply

 7   (“Defendants’ Response”).

 8          2.      Certain highlighted portions of Defendants’ Response contain highly confidential,

 9   proprietary technical and business information of Uber. The design of Uber’s custom LiDAR

10   system and certain business details are maintained as confidential by Uber. If such information

11   were made public, Uber’s competitive standing could be significantly harmed. The public

12   disclosure of this information would give Uber’s competitors access to confidential technical

13   details and business information, causing Uber irreparable harm in this very competitive space of

14   autonomous driving. These portions are highlighted in blue.

15          3.      Certain highlighted portions of Defendants’ Response and Exhibit A to the

16   Declaration of Esther Chang in Support of Defendants’ Response contain information that

17   Plaintiff Waymo LLC has designated as “Confidential” or “Highly Confidential – Attorneys’

18   Eyes Only” in accordance with the Patent Local Rule 2-2 Interim Model Protective Order

19   (“Protective Order”), which the parties have agreed govern this case (Transcript of 3/16/2017

20   Hearing, page 6). Defendants are required to file this material under seal in accordance with

21   Paragraph 14.4 of the Protective Order. These portions are highlighted in green.

22          I declare under penalty of perjury under the laws of the United States that the foregoing is

23   true and correct. Executed this 5th day of May, 2017, in San Francisco, California.

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                                                                   /s/ Michelle Yang
25                                                                     Michelle Yang
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     YANG DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1                               ATTESTATION OF E-FILED SIGNATURE

 2          I, Michael A. Jacobs, am the ECF User whose ID and password are being used to file this

 3   Declaration. In compliance with General Order 45, X.B., I hereby attest that Michelle Yang has

 4   concurred in this filing.

 5   Dated: May 5, 2017                                      /s/ Michael A. Jacobs
                                                                 Michael A. Jacobs
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